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 6
                              UNITED STATES DISTRICT COURT
 7                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
      ANGELA ORR,
 9
                                                              NO. 2:22-cv-201
10                       Plaintiff,
                                                               COMPLAINT FOR DAMAGES
11          v.
12
      UNITED AIRLINES, INC., a Delaware
      Corporation                                             JURY TRIAL DEMANDED
13

14                                    Defendant.
15

16          Plaintiff, Angela Orr, by and through her attorney of record, Neil Lindquist, of

17   Kornfeld, Trudell, Bowen and Lindquist, alleges as follows:
18
                                               PARTIES
19
            1.      At all times material hereto, Angela Orr was a resident of Alabama.
20
            2.      Defendant, United Airlines, Inc. (“United”) is a corporation organized and
21

22   existing under the laws of the State of Delaware, maintaining its principal place of business in

23   the State of Illinois, registered to do business in Washington and is engaged in business within
24
     this County. Defendant may be served through its registered agent, CT Corporation System,
25
     711 Capitol Way S., Suite 204, Olympia, Washington 98501.
26
            3.      At all times material hereto, Defendant United was a common carrier in the
27

28   business of transporting passengers for hire.
                                                                          KORNFELD TRUDELL BOWEN &
29       COMPLAINT FOR DAMAGES                         PAGE - 1 -                    LINDQUIST, PLLC
                                                                              Robert B. Kornfeld, Inc., P.S.
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                                    JURISDICTION AND VENUE
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               4.    The Court has subject-matter jurisdiction. 28 U.S.C. § 1332(a) on the basis of

 4   diversity of citizenship and on the basis that the amount in controversy exceeds the

 5   jurisdictional amount of $75,000.00 as provided therein.
 6
               5.    Defendant United resides in this district and maintains offices, conducts
 7
     business, and may be served in the Western District of Washington.
 8

 9
               6.    Defendant United, at all times material hereto, has carried on substantial and

10   continuous business activities in the State of Washington.

11             7.    Venue is proper in this district because the incident giving rise to this suit
12
     occurred in Seattle, Washington.
13
                                                 FACTS
14

15
               8.    On or about February 28, 2019, Plaintiff Angela Orr was a fare paying passenger

16   aboard United Airlines Flight No. 1695 from Houston, Texas to Seattle, Washington.

17             9.    At all times material hereto the aircraft upon which Plaintiff was traveling as a
18
     passenger from Houston, Texas to Seattle, Washington was owned and/or operated and crewed
19
     by Defendant.
20

21
               10.   Plaintiff’s travel initiated on February 28, 2019 in Huntsville, Alabama where

22   she was a passenger on UA4454 to Houston, Texas.

23             11.   Upon the landing of UA1695 in Seattle, Washington, a piece of the bulkhead on
24
     the aircraft broke loose and fell onto Plaintiff’s head and neck causing her personal injuries.
25
                                                 NEGLIGENCE
26

27
               12.   Plaintiff herby alleges and incorporates paragraphs 1-11 above, by reference

28   herein.
                                                                           KORNFELD TRUDELL BOWEN &
29       COMPLAINT FOR DAMAGES                          PAGE - 2 -                    LINDQUIST, PLLC
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            13.     At all times material hereto, United Flight No. 1695 was owned and/or operated
 2

 3
     by Defendant, a common carrier engaged in the business of transporting fare-paying passengers

 4   including Plaintiff. As a common carrier, Defendant owed the highest duty of care to its

 5   passengers, including Plaintiff, Angela Orr, a passenger on Flight No. 1695.
 6
            14.     Defendant breached that duty and was negligent in one or more of the following
 7
     non-exclusive particulars:
 8

 9
                    a. failing to maintain the aircraft in such a condition that a piece of the bulkhead

10                         would not fall and strike Plaintiff in the head.

11                  b. failing to give Plaintiff notice that the aircraft was not safe and in a condition
12
                           that may cause her injury;
13
                    c. failing to protect Plaintiff from injury as a result of its defective aircraft;
14

15
                    d. landing the aircraft in such a manner that caused a piece of the overhead bin

16                         to come down on Plaintiff’s head and neck; and

17                  e. other acts that may be shown at the time of trial.
18
            15.     Defendant’s negligence was a proximate cause of the occurrence in question and
19
     of Plaintiff’s injuries and damages.
20

21
                                                  DAMAGES

22          16.     As a direct and proximate result of Defendant’s negligence Plaintiff has been

23   injured. These injuries include, but are not limited to, injury to her head and neck.
24
            17.     Additionally, as a direct and proximate result of Defendant’s negligence,
25
     Plaintiff incurred:
26

27
                    a. Medical expenses (past and future);

28                  b. Other out-of-pocket expenses and economic damages (past and future);
                                                                               KORNFELD TRUDELL BOWEN &
29       COMPLAINT FOR DAMAGES                             PAGE - 3 -                     LINDQUIST, PLLC
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 1
              c. Physical Pain and suffering and mental anguish (past and future);
 2

 3
              d. Loss of capacity for enjoyment of life (past and future);

 4            e. Loss of earnings and earning capacity (past and future);

 5            f. Disability (past and future); and
 6
              g. Other damages as may be demonstrated at trial.
 7
                                          PRAYER
 8

 9
       WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

10            1.      For general damages according to proof;

11            2.      For all expenses for health care providers according to proof;
12
              3.      For all loss of income past and future according to proof;
13
              4.      For prejudgment and post-judgment interest;
14

15
              5.      For Plaintiff's costs of suit incurred herein; and

16            6.      For such other and further relief as this Court deems just and fair.

17     DATED this 18th day of February, 2022.
18
                                                      KORNFELD TRUDELL BOWEN
19                                                    & LINDQUIST, PLLC

20

21
                                                      Neil T. Lindquist, WSBA# 52111
22                                                    Attorney for Plaintiff

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29   COMPLAINT FOR DAMAGES                        PAGE - 4 -                     LINDQUIST, PLLC
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